        Case 1:20-cv-02696-SCJ Document 13 Filed 10/08/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAKOTA HOLT,                          )
                                      )
      Plaintiff,                      )
                                      )      CIVIL ACTION
v.                                    )
                                      )      FILE No. 1:20-cv-02696-SCJ
WADE 75, LLC,                         )
                                      )
      Defendant.                      )

     ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
                DEFENDANT WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit “A,” and for good cause

shown, it is hereby ORDERED and ADJUDGED that the Joint Stipulation to

Approve Consent Decree and Dismiss with Prejudice is GRANTED. The Court

shall retain jurisdiction to enforce the Consent Decree. Each party shall bear their

own attorney’s fees and costs except as detailed in the parties’ Consent Decree.

      SO ORDERED, this _____        October
                        8th day of _______________, 2020.



                                      s/Steve C. Jones
                                      ______________________________
                                      Hon. Steve C. Jones
                                      United States District Judge
